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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                              MINUTES OF PROCEEDINGS


                                                DATE OF PROCEEDINGS: 12/20/2018
                                                CRIMINAL DOCKET #: 18-757(BRM)-01
OFFICE: TRENTON
JUDGE BRIAN R. MARTINOTTI
COURT REPORTER: MEGAN MCKAY-SOULE


TITLE OF CASE:
UNITED STATES OF AMERICA
      vs.
STEPHEN BRADLEY MELL


APPEARANCES:
Danielle Walsman, Assistant United States Attorney
Robert Bianchi, David Bruno, John Whipple & Michael Koribanks, Esquires for defendant
Defendant present.


NATURE OF PROCEEDINGS:
INITIAL APPEARANCE & PLEA HEARING HELD.
Ordered defendant sworn; defendant sworn.
Defendant advised of rights, charges, and penalties.
Waiver of Indictment executed and filed.
INFORMATION filed.
Defendant entered Plea of Guilty to a Two-Count Information.
Ordered terms of the plea agreement read into the record.
Ordered plea agreement approved and accepted.
Plea agreement and Rule 11 Form to be filed.
Ordered sentence date set for 4/17/2019 at 10:00 a.m.
Hearing on defendant’s request for an earlier sentencing date.
    Case 3:18-cr-00757-BRM Document 30 Filed 12/20/18 Page 2 of 2 PageID: 246
Parties directed to contact probation office for guidance.
Ordered bail continued.
Time commenced: 10:15 a.m.
Time adjourned: 11:15 a.m.
Total time: 1 hour


                                         s/Dana Sledge-Courtney
                                          Courtroom Deputy
